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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                10/16/2020
---------------------------------------------------------------X
KENJY ORELLANA, et al.,                                        :
                                                               :   18-CV-8396 (VEC) (RWL)
                                             Plaintiffs,       :
                                                               :
                  - against -                                  :   ORDER
                                                               :
REAL INNOVATIVE CONSTRUCTION,                                  :
LLC, et al.,                                                   :
                                             Defendants. :
---------------------------------------------------------------X

ROBERT W. LEHRBURGER, United States Magistrate Judge.

        On September 27, 2019, this Court stayed discovery, on consent, pending

determination of motions to dismiss. (Dkt. 137.) Following this Court's issuance of a

Report and Recommendation on the motions to dismiss (Dkt. 139), the Plaintiffs reached

a settlement with certain defendants (Dkt. 143), and the motions to dismiss were denied

as moot (Dkt. 144), thus ending the stay of discovery. Of the remaining defendants, the

action was stayed as against Defendant Andy Morales due to his filing a notice of

bankruptcy. (Dkt. 116.) The action was not stayed, however, as to Defendants Carlos

Morales and Real Innovative Construction, LLC ("RIC"). Accordingly, by October 26,

2020, the parties shall file a joint letter addressing the status of the case and proposing a

schedule through discovery and dispositive motions. The parties shall coordinate with

each other and my Courtroom Deputy to schedule a status conference to take place

shortly after filing of the status letter.
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Dated: October 16, 2020
       New York, New York

                                        SO ORDERED.



                                        _________________________________
                                        ROBERT W. LEHRBURGER
                                        UNITED STATES MAGISTRATE JUDGE

Copies sent to all counsel of record.




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